                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                         No. 17-05023-01-CR-SW-RK

 RAYMOND ADAIR,

                                Defendant.

                                      PLEA AGREEMENT

       Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.      The Parties. The parties to this agreement are the United States Attorney’s Office

for the Western District of Missouri (otherwise referred to as “the Government” or “the United

States”), represented by Timothy A. Garrison, United States Attorney, and Ami Harshad Miller,

Assistant United States Attorney, and the defendant, Raymond Adair (“the defendant”),

represented by Erica Mynarich.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attorney for the Western District of Missouri, and that it does not bind any other

federal, state or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

       2.      Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to

Counts 1 and 2 of the information. Count 1 charges him with a violation of 18 U.S.C. § 2423(b),

that is, travel with intent to engage in illicit sexual conduct. Count 2 charges him with a violation

of 18 U.S.C. § 922(g)(3), that is, an unlawful user of a controlled substance in possession of a




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firearm. By entering into this plea agreement, the defendant admits that he knowingly committed

these offenses, and is, in fact, guilty of these offenses.

        3.      Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offenses to which the defendant is pleading guilty are as follows:

        On or about May 9, 2016, the defendant, did travel in interstate commerce, from
        McDonald County, Missouri, to Benton County, Arkansas, for the purpose of
        engaging, or attempting to engage, in any illicit sexual conduct, as defined in Title
        18, United States Code, Section 2246, with a person under 18 years of age.

        On May 9, 2016, Bentonville, Arkansas, Police Department (BPD) Officer Marci
        King and Jacob Moran were dispatched to a residence in Bentonville, Benton
        County, Arkansas, regarding an adult male exposing himself to minors. Jane Doe
        1 told Officer King, she and John Doe were walking home from school when a
        white, four-door car pulled up next to them and stopped. An older white male rolled
        down his window and asked Jane Doe 1, “have you ever seen a cock before?” The
        male then showed Jane Doe 1 his penis, and Jane Doe 1 and John Doe ran away.

        BPD Officer Jacob Moran was dispatched to a residence in Bentonville, Benton
        County, Arkansas, regarding an adult male exposing himself to a minor. Jane Doe
        2 stated that while she walking to her house from her school bus stop, a white car
        pulled up next to her and asked her if she had ever seen a “cock” before. Jane Doe
        2 stated she immediately ran away.

        On May 10, 2016, Det. Wiseman made contact with Dahronn Moss, supervisor of
        the Bentonville School district’s bus barn. Moss stated the school bus that Jane
        Doe 2 was riding on May 9, 2016, was equipped with surveillance cameras. Moss
        was able to provide still image photographs of a suspect vehicle, a four-door, white
        2014 Toyota Camry that passed the school bus slightly north of Jane Doe 2’s bus
        stop. Det. Wiseman was able to review the surveillance footage, and he noticed
        other details of the vehicle. The vehicle had Missouri license plate, with the first
        two letters as HK, and there was an Oklahoma Pike Pass displayed in the
        windshield. Missouri Department of Vehicles located a match, Raymond C. Adair
        III, a registered owner of a white 2014 Toyota Camry, license plate HK7T8J, with
        an address in Noel, McDonald County, Missouri, a location within the Western
        District of Missouri.

        On May 11, 2016, McDonald County Sheriff’s Office (MCSO) obtained a state
        search warrant for Adair’s residence. BPD Det. Wiseman, BPD Det. Josh
        Woodhams, BPD Det. Andy Oliver, MCSO Det. Huff, MCSO Lt. Barrett, and FBI
        SA Billy Cox executed the search warrant.


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While law enforcement was executing the search warrant, Adair arrived in a white
van. Adair was arrested by Officer Schooley.

Det. Wiseman and FBI SA Cox responded to the MCSO to interview Adair. Det.
Wiseman read Adair his Miranda rights, Adair executed a written waiver and
agreed to waive those rights and speak with the officers. Adair stated that on May
10, 2016, his uncle passed away, and this sent him on a “wild trip.” Adair later said
if he had to justify anything, it would be a “break from reality.” When asked if it
was just the two kids in Bentonville, Adair responded, “yeah.” Adair stated that he
had gotten in trouble for something like this before in 1991. Adair stated that he
was masturbating his penis before he approached the children, he had pulled his
pants down to his knees, and he was fondling himself. Adair stated that he took off
his back license plate on Northwest A Street, Bentonville, Missouri.

During the search of the residence, officers located:
1. An AR-15 (Colt M4);
2. Marijuana in several mason jars in a bedroom in the back of the home,
   approximately 12 pounds;
3. A Marlin, Glenfield, rifle;
4. A Ruger rifle in a hall closet;
5. Freeze dryer (dehydrator), heat sealer, vacuum bags and vacuum sealer; and
6. Recording equipment (Go Pro and video recorder).

FBI SA Stacy Moore was assigned the case for follow-up federal investigation. SA
Moore located the prior case that Adair referenced in his interview, where he was
convicted of attempted second-degree kidnapping of a minor and two counts of
indecent exposure to a minor, Larimer County, Colorado, case number
1994CR000685.

On August 22, 2016, Adair wrote a letter from the McDonald County Jail to
individuals named Jennifer, Brad, and Liam. As part of normal procedure, MCSO
screens all incoming and outgoing mail. In this particular letter, Adair describes
the weekend leading up to going to Arkansas, as well as what occurred in
Bentonville, Arkansas. Adair stated he drove to Arkansas on Monday (referring to
May 9, 2016) from Noel, Missouri, and “acted out, as [he] had done 22 years ago,
in Colorado.” He goes on to state that he is in jail in Missouri because he had three
guns in a closet, 12 and ½ pounds of marijuana, and over $500,000.00.

ATF SA Colleen M. Peery was assigned the case for follow-up investigation
regarding the guns located in Adair’s residence. On September 15, 2016, SA Peery
confirmed that the Glenfield Mod 60 .22LR semi-automatic rifle (serial#71599124)
and the Ruger 10/22 semi-automatic rifle (serial# 822-05455) all functioned as
designed. ATF SA Brian Fox confirmed that the firearms were manufactured
outside the state of Missouri and would have had to cross state lines to enter.


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       The defendant, being addicted to a controlled substance as defined in Title 21
       United States Code, Section 802, did knowingly possess the firearms while being a
       user of a controlled substance.

       The defendant agrees to pay a $150,000.00 fine as to Counts 1 and 2, which said
       fine is to be ran concurrent.


       4.      Use of Factual Admissions and Relevant Conduct.                       The defendant

acknowledges, understands and agrees that the admissions contained in paragraph 3 and other

portions of this plea agreement will be used for the purpose of determining his guilt and advisory

sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the

calculation of the defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The

defendant acknowledges, understands and agrees that the conduct charged in any dismissed counts

of the indictment, as well as all other uncharged, related criminal activity, may be considered as

“relevant conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the

charges to which he is pleading guilty.

       5.      Statutory Penalties. The defendant understands that, upon his plea of guilty to

Count 1 of the information, charging him with travel with intent to engage in illicit sexual activity,

having previously been convicted of a sex offense against a minor, the maximum penalty the

Court may impose is not more than 60 years’ imprisonment, not less than five years’ supervised

release, a $250,000.00 fine, an order of restitution, and a $100 mandatory special assessment per

felony count of conviction, which must be paid in full at the time of sentencing. The defendant

further understands that this offense is a Class B felony.

       The defendant understands that, upon his plea of guilty to Count 2 of the information,

charging him with unlawful user of a controlled substance in possession of a firearm, the maximum

penalty the Court may impose is not more than 10 years’ imprisonment, not more than five years’

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supervised release, a $250,000.00 fine, and a $100 mandatory special assessment per felony count

of conviction, which must be paid in full at the time of sentencing. The defendant further

understands that this offense is a Class C felony.

       6.        Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

              a.     in determining the appropriate sentence, the Court will consult and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission; these Guidelines, however, are advisory in nature, and the
       Court may impose a sentence either less than or greater than the defendant’s
       applicable Guidelines range, unless the sentence imposed is “unreasonable”;

              b.     the Court will determine the defendant’s applicable Sentencing
       Guidelines range at the time of sentencing;

              c.      in addition to a sentence of imprisonment, the Court may impose a
       term of supervised release of at least five years on Count 1 and up to five years on
       Count 2;

               d.      if the defendant violates a condition of his supervised release, the
       Court may revoke his supervised release and impose an additional period of
       imprisonment of up to five years without credit for time previously spent on
       supervised release, unless the provisions of 18 U.S.C. § 3583(k) supersede §
       3583(e)(3), in which case the Court must impose a sentence of not less than five
       years. In addition to a new term of imprisonment, the Court also may impose a new
       period of supervised release, the length of which cannot exceed the term of
       supervised release actually imposed, less the term of imprisonment imposed upon
       revocation of the defendant's first supervised release;

              e.      the Court may impose any sentence authorized by law, including a
       sentence that is outside of, or departs from, the applicable Sentencing Guidelines
       range;

               f.      any sentence of imprisonment imposed by the Court will not allow
       for parole;

              g.     the Court is not bound by any recommendation regarding the
       sentence to be imposed or by any calculation or estimation of the Sentencing
       Guidelines range offered by the parties or the United States Probation Office; and



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               h.     the defendant may not withdraw his guilty plea solely because of the
       nature or length of the sentence imposed by the Court.


       7.      Government’s Agreements. Based upon evidence in its possession at this time,

the United States Attorney’s Office for the Western District of Missouri, as part of this plea

agreement, agrees not to bring any additional charges against the defendant for any federal criminal

offenses related to the possession or distribution of marijuana, possession or use of a firearm,

traveling with the intent to engage in illicit sexual activity, or any money laundering or tax charges

stemming from the seizure of cash from the defendant’s residence and vehicle on May 11, 2016,

for which it has venue and which arose out of the defendant’s conduct described above.

Additionally, the United States Attorney’s Office for the Western District of Missouri has

communicated with the Benton County District Attorney’s Office and they have agreed not to

pursue any state charges arising out of his conduct on May 9, 2016, in Benton County, Arkansas.

        The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act of physical or sexual violence against

the person of another, or a conspiracy to commit any such acts of violence or any criminal activity

of which the United States Attorney for the Western District of Missouri has no knowledge.

       The defendant recognizes that the United States’ agreement to forego prosecution of all of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement. If the defendant breaches this plea agreement, the United

States retains the right to proceed with the original charges and any other criminal violations

established by the evidence. The defendant expressly waives his right to challenge the initiation

of the dismissed or additional charges against him if he breaches this agreement. The defendant

expressly waives his right to assert a statute of limitations defense if the dismissed or additional

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charges are initiated against him following a breach of this agreement. The defendant further

understands and agrees that, if the Government elects to file additional charges against him

following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

       8.      Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the

offense conduct. This may include information concerning the background, character and conduct

of the defendant, including the entirety of his criminal activities. The defendant understands these

disclosures are not limited to the counts to which he has pleaded guilty. The United States may

respond to comments made or positions taken by the defendant or the defendant’s counsel, and to

correct any misstatements or inaccuracies. The United States further reserves its right to make any

recommendations it deems appropriate regarding the disposition of this case, subject only to any

limitations set forth in this plea agreement. The United States and the defendant expressly reserve

the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal

Rules of Criminal Procedure.

       9.      Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and

its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to

their pre-plea agreement positions to the fullest extent possible. However, after the plea has been

formally accepted by the Court, the defendant may withdraw his pleas of guilty only if the Court

rejects the plea agreement, or if the defendant can show a fair and just reason for requesting the

withdrawal. The defendant understands that, if the Court accepts his pleas of guilty and this plea

agreement but subsequently imposes a sentence that is outside the defendant’s applicable



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Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, he will not be permitted to withdraw his pleas of guilty.

       10.     Agreed Guidelines Applications.           With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

              a.     The Sentencing Guidelines do not bind the Court and are advisory
       in nature. The Court may impose a sentence that is either above or below the
       defendant’s applicable Guidelines range, provided the sentence imposed is not
       “unreasonable”;

              b.      The applicable Guidelines section for Count 1 is U.S.S.G. § 2G1.3,
       and the applicable Guidelines section for count 2 is U.S.S.G. § 2K2.1;

               c.      The parties have no agreements as to enhancements;

               d.       The defendant has admitted his guilt and clearly accepted
       responsibility for his actions, and has assisted authorities in the investigation or
       prosecution of his own misconduct by timely notifying authorities of his intention
       to enter a plea of guilty, thereby permitting the Government to avoid preparing for
       trial and permitting the Government and the Court to allocate their resources
       efficiently. Therefore, he is entitled to a 3-level reduction pursuant to § 3E1.1(b)
       of the Sentencing Guidelines. The Government, at the time of sentencing, will file
       a written motion with the Court to that effect, unless the defendant: (1) fails to abide
       by all of the terms and conditions of this plea agreement and his pretrial release; or
       (2) attempts to withdraw his guilty pleas, violates the law, or otherwise engages in
       conduct inconsistent with his acceptance of responsibility;

               e.     There is no agreement between the parties regarding the defendant’s
       criminal history category. The parties agree that the Court will determine his
       applicable criminal history category after receipt of the presentence investigation
       report prepared by the United States Probation Office;

               f.      The defendant understands that the estimate of the parties with
       respect to the Guidelines computation set forth in the subsections of this paragraph
       does not bind the Court or the United States Probation Office with respect to the
       appropriate Guidelines levels. Additionally, the failure of the Court to accept these
       stipulations will not, as outlined in paragraph 9 of this plea agreement, provide the
       defendant with a basis to withdraw his plea of guilty;

              g.     The parties are free to advocate any sentence authorized by the law.
       The defendant understands that the Court may impose any sentence authorized by
       law, including any sentence outside the applicable Guidelines range that is not

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       “unreasonable.” The agreement by the parties is not binding upon the Court or the
       United States Probation Office, and the Court may impose any sentence authorized
       by law, including any sentence outside the applicable Guidelines range that is not
       “unreasonable”;

               h.      The defendant consents to judicial fact-finding by a preponderance
       of the evidence for all issues pertaining to the determination of the defendant’s
       sentence, including the determination of any mandatory minimum sentence
       (including the facts that support any specific offense characteristic or other
       enhancement or adjustment), and any legally authorized increase above the normal
       statutory maximum. The defendant waives any right to a jury determination beyond
       a reasonable doubt of all facts used to determine and enhance the sentence imposed,
       and waives any right to have those facts alleged in the indictment. The defendant
       also agrees that the Court, in finding the facts relevant to the imposition of sentence,
       may consider any reliable information, including hearsay; and

              i.      The defendant understands and agrees that the factual admissions
       contained in paragraph 3 of this plea agreement, and any admissions that he will
       make during his plea colloquy, support the imposition of the agreed upon
       Guidelines calculations contained in this agreement.

       11.     Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed in paragraph 10 and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

       12.     Change in Guidelines Prior to Sentencing. The defendant agrees that, if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by the defendant to be sentenced pursuant to the new Guidelines will make this plea

agreement voidable by the United States at its option. If the Government exercises its option to

void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all

criminal charges that could have been brought but for this plea agreement.




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       13.     Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

               a.     oppose or take issue with any position advanced by the defendant at
       the sentencing hearing which might be inconsistent with the provisions of this plea
       agreement;

              b.       comment on the evidence supporting the charge[s] in the
       information;

              c.      oppose any arguments and requests for relief the defendant might
       advance on an appeal from the sentences imposed, and that the United States
       remains free on appeal or collateral proceedings to defend the legality and propriety
       of the sentence actually imposed, even if the Court chooses not to follow any
       recommendation made by the United States; and

               d.      oppose any post-conviction motions for reduction of sentence, or
       other relief.

       14.     Waiver of Constitutional Rights.             The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the

following rights:

               a.      the right to plead not guilty and to persist in a plea of not guilty;

             b.      the right to be presumed innocent until his guilt has been established
       beyond a reasonable doubt at trial;

               c.     the right to a jury trial, and at that trial, the right to the effective
       assistance of counsel;

               d.      the right to confront and cross-examine the witnesses who testify
       against him;

               e.      the right to compel or subpoena witnesses to appear on his behalf;
       and

              f.      the right to remain silent at trial, in which case his silence may not
       be used against him.




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       The defendant understands that, by pleading guilty, he waives or gives up those rights and

that there will be no trial. The defendant further understands that, if he pleads guilty, the Court

may ask him questions about the offenses to which he pleaded guilty, and if the defendant answers

those questions under oath and in the presence of counsel, his answers may later be used against

him in a prosecution for perjury or making a false statement. The defendant also understands that

he has pleaded guilty to felony offenses and, as a result, will lose his right to possess a firearm or

ammunition and might be deprived of other rights, such as the right to vote or register to vote, hold

public office, or serve on a jury.

      15.      Waiver of Appellate and Post-Conviction Rights.

               a.       The defendant acknowledges, understands and agrees that, by
       pleading guilty pursuant to this plea agreement, he waives his right to appeal or
       collaterally attack a finding of guilt following the acceptance of this plea agreement,
       except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
       misconduct; and

               b.       The defendant expressly waives his right to appeal his sentence,
       directly or collaterally, on any ground except claims of: (1) ineffective assistance
       of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
       sentence” includes a sentence imposed in excess of the statutory maximum, but
       does not include less serious sentencing errors, such as a misapplication of the
       Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
       sentence. However, if the United States exercises its right to appeal the sentence
       imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
       waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
       authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
       stipulated to or agreed upon in this agreement.

       16.     Financial Obligations.      By entering into this plea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

               a.      The Court may order restitution to the victims of the offense to
       which the defendant is pleading guilty. The defendant agrees that the Court may
       order restitution in connection with the conduct charged in any counts of the
       indictment which are to be dismissed and all other uncharged, related criminal
       activity;

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        b.      The defendant agrees to pay a $150,000.00 fine to the United States
Government as to Counts 1 and 2, to be ran concurrent. The United States may use
the Federal Debt Collection Procedures Act and any other remedies provided by
law to enforce any restitution order that may be entered as part of the sentence in
this case and to collect any fine;

         c.     The defendant will fully and truthfully disclose all assets and
property in which he has any interest, or over which the defendant exercises control,
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant’s disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution order in full;

        d.      Within ten (10) days of the execution of this plea agreement, at the
request of the USAO, the defendant agrees to execute and submit: (1) a Tax
Information Authorization form; (2) an Authorization to Release Information; (3)
a completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that compliance with these requests will be taken into account when the United
States makes a recommendation to the Court regarding the defendant's acceptance
of responsibility;

        e.      At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution;

        f.      The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence;

        g.      The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $ 200.00 by submitting a satisfactory form of payment to
the Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing;

       h.      The defendant certifies that he has made no transfer of assets or
property for the purpose of: (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; or (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover, the
defendant promises that he will make no such transfers in the future; and



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                i.     In the event the United States learns of any misrepresentation in the
       financial disclosure statement, or of any asset in which the defendant had an interest
       at the time of this plea agreement that is not disclosed in the financial disclosure
       statement, and in the event such misrepresentation or nondisclosure changes the
       estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
       the United States may at its option: (1) choose to be relieved of its obligations under
       this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
       restitution and fines imposed by any criminal or civil judgment, and also collect
       100% (one hundred percent) of the value of any previously undisclosed assets. The
       defendant agrees not to contest any collection of such assets. In the event the United
       States opts to be relieved of its obligations under this plea agreement, the
       defendant’s previously entered pleas of guilty shall remain in effect and cannot be
       withdrawn.

       17.     Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United

States any records pertaining to the investigation or prosecution of this case including, without

limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,

or the Privacy Act of 1974, 5 U.S.C. § 552a.

       18.     Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses

arising out of the investigation or prosecution of this matter.

       19.     Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing

of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the

defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United States

will be released from its obligations under this agreement. The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.



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       The defendant also understands and agrees that, in the event he violates this plea

agreement, all statements made by him to law enforcement agents subsequent to the execution of

this plea agreement, any testimony given by him before a grand jury or any tribunal, or any leads

from such statements or testimony, shall be admissible against him in any and all criminal

proceedings. The defendant waives any rights that he might assert under the United States

Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the

Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any

statements made by him subsequent to this plea agreement.

       20.     Defendant’s Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

approval of counsel. The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in connection with

this plea agreement. The defendant further acknowledges that no threats or promises, other than

the promises contained in this plea agreement, have been made by the United States, the Court, his

attorneys, or any other party to induce him to enter his plea of guilty.

       21.     Sex Offender Registration. The defendant acknowledges that he has been

advised, and understands that, by pleading guilty to the instant offense, he will be required under

the Sex Offender Registration and Notification Act (SORNA), a federal law, to register as a sex

offender and keep the registration current in each of the following jurisdictions: where he resides;

where he is employed; and where he is a student. The defendant also acknowledges that he

understands that the requirements for registration include providing his name, his residential

address, the names and addresses of any places where he is, or will be, an employee or student,

or any other relevant information. The defendant further acknowledges that he understands that

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the requirement to keep the registration current includes registering in the jurisdiction in which

he resides, is an employee, or is a student, and must be done within 72 hours of any such change

in status. The defendant also agrees that he will provide his Probation Officer proof of registration

within 72 hours of release from imprisonment, and abide by all state and federal sex offender

registration laws, as well as abiding by all of his Probation Officer’s directives.

        The defendant acknowledges that he has been advised, and understands, that failure to

comply with these obligations could subject him to either state or federal prosecution for failure

to register, pursuant to Title 18 U.S.C. § 2250, which is punishable by a fine or imprisonment, or

both.

        22.    Defendant Will Surrender to Custody At The Plea. The defendant understands

that a crime to which he is pleading guilty, traveling with the intent to engage in illicit sexual

conduct, is one of the offenses listed in 18 U.S.C. ' 3142(f)(1)(A), (f)(1)(B) or (f)(1)(C).

Accordingly, pursuant to 18 U.S.C. ' 3143(a)(2), the Court must detain the defendant after he

pleads guilty. The defendant agrees not to contest being detained immediately after the Court’s

acceptance of the guilty plea, and to surrender to the custody of the U.S. Marshals at that time.

        23.    No Undisclosed Terms. The United States and the defendant acknowledge and

agree that the above stated terms and conditions, together with any written supplemental agreement

that might be presented to the Court in camera, constitute the entire plea agreement between the

parties, and that any other terms and conditions not expressly set forth in this agreement or any

written supplemental agreement do not constitute any part of the parties’ agreement and will not

be enforceable against either party.

        24.    Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be

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interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

                                      Timothy A. Garrison
                                      United States Attorney

                              By      /s/ Jim Kelleher for

Dated:1-29-2018                       Ami Harshad Miller
                                      Assistant United States Attorney
                                      Missouri Bar No. 57711

I have consulted with my attorney and fully understand all of my rights with respect to the offenses
charged in the information. Further, I have consulted with my attorney and fully understand my
rights with respect to the provisions of the Sentencing Guidelines. I have read this plea agreement
and carefully reviewed every part of it with my attorney. I understand this plea agreement and I
voluntarily agree to it.


Dated:1-29-2018                               /s/ Raymond Adair
                                              Raymond Adair
                                              Defendant

        I am defendant Raymond Adair’s attorney. I have fully explained to him his rights with
respect to the offenses charged in the information. Further, I have reviewed with him the
provisions of the Sentencing Guidelines which might apply in this case. I have carefully reviewed
every part of this plea agreement with him. To my knowledge, Raymond Adair’s decision to enter
into this plea agreement is an informed and voluntary one.


Dated: 1-29-2018                              /s/ Erica Mynarich
                                              Erica Mynarich
                                              Attorney for Defendant




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